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                       UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF TEXAS - FORT WORTH DIVISION

LEONEL DE LA FUENTE,                                  §
  Plaintiff,                                          §
                                                      §                               CIVIL CAUSE NO.
v.                                                    §                                4:23-cv-00914-P
                                                      §
NEW MILLENNIUM CONCEPTS LTD.,                         §
eEMPLOYERS SOLUTIONS, INC.,                           §
and JAMES B. SHEPHERD,                                §                   JURY TRIAL DEMANDED
   Defendants.                                        §

       DEFENDANT JAMES SHEPHERD’S REPLY IN SUPPORT OF DISMISSAL,
         OR IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT

        Defendant James Shepherd (“Defendant”) herein files his Reply in Support of Dismissal

(“Reply”). Defendant filed his 12(b)(6) Motion to Dismiss on November 8th, 2023. Plaintiff filed

Plaintiff's Response to Defendant James Shepherd’s 12(b)(6) (“Response”) on December 6th, 2023.

Plaintiff has not amended his Original Complaint filed September 4th, 2023. Defendant

incorporates his 12(b)(6) Motion to Dismiss by reference.

        Summarizing, even accepting all well-pleaded facts as true, and viewing them in a light

most favorable to Plaintiff, Plaintiff still has failed to show a pattern or practice of discrimination

as required under § 1981. Plaintiff has not plead a legally cognizable § 1981 claim. Further,

Plaintiff has nonsuited his Breach of Contract, Quantum Meruit, and Fraud claims against

Defendant James Shepherd. Plaintiff’s pleadings show that Plaintiff’s department was closed and

demonstrate that his termination was not racially motivated or the result of discrimination, but a

result of a business reorganization.

        Alternatively, while Plaintiff’s pleadings necessitate dismissal against Defendant Shepherd

under 12(b)(6), sworn affidavits of Defendant James Shepherd, Paul Seibert, Susan Spaar, and

Sarah Melton are attached and show there is no genuine dispute of fact and Defendant Shepherd

is entitled to dismissal on the merits as a matter of law under Fed. Rul. Civ. Pro. 56.


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                                          I.    ARGUMENT

A. Plaintiff failed to show discriminatory intent by Defendant, therefore, Plaintiff’s § 1981
   claim should be dismissed.

1.      Plaintiff’s department closure and his subsequent termination were inevitable, irrespective

of his race. Plaintiff’s termination had nothing to do with his race, nor was race a motivating factor.

Plaintiff’s position was eliminated because David Shepherd expanded the company without

Defendant’s authorization, leading to an unsustainable personnel bloat. Plaintiff knew that his

position was subject to downsizing and he was only one of many causalities of the ill-advised

corporate expansion that Defendant was compelled to unwind in order to prevent the collapse of

the business.

2.      Plaintiff shows no discriminatory or derogatory remarks regarding Plaintiff or Plaintiff’s

race. Plaintiff’s pleadings show that Plaintiff was let go due to department closure. Defendant

Shepherd made no discriminatory or derogatory comments regarding minorities or Plaintiff’s race

in the January 2021 two-day meeting.

3.      Plaintiff alleges a narrative in which Defendant discriminated against him to the benefit of

Paul Seibert, whose employment continued when Plaintiff’s was terminated. Plaintiff’s Original

Complaint states that Paul Seibert is Jewish in paragraph #17. Plaintiff supplies no real argument

or authority that Plaintiff’s degrees by themselves make Plaintiff more qualified than Paul Seibert

to perform the duties Plaintiff was tasked with before his termination.

4.      Plaintiff Leo hired employees under general manager David Shepherd without

authorization. Plaintiff and those employees, because they were part of an unauthorized expansion,

were subject to the subsequent downsizing. Id. The race of Plaintiff or the employees he hired had

nothing to do with the downsizing. Plaintiff was made aware of this from the beginning at the

January 2021 meeting.



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5.        Plaintiff has failed to show any intent of discrimination. Plaintiff relies on false statements,

which even if accepted as true, shows no intentional discrimination. Plaintiff was not “replaced”,

but his few duties were given to Paul Seibert, whose pay was not re-negotiated by Defendant

Shepherd and who was not given any raises. While it is unfortunate to be caught in a business

downsizing, Plaintiff simply was not discriminated against when his position was dissolved and

his termination cannot form the basis of a claim under 42 U.S.C. § 1981.

B. The Court should not consider Plaintiff’s McDonnel Douglas burden shifting
   framework and leave to amend Plaintiff’s Original Complaint should be denied.

        i.   The Court may not consider the McDonnel Douglas claim.

6.        Plaintiff has not amended his Original Complaint to plead the burden shifting framework

of a McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) claim under Title VII of the Civil

Rights Act of 1964, but only makes the new claim in his Response.

7.        “The Court may not consider allegations contained only in Plaintiffs’ Response Brief on a

motion to dismiss, but it may choose to construe new factual statements as a motion for leave

to amend the complaint. See Allen v. Ocwen Loan Servicing, LLC, No. H-15-1672, 2015 U.S. Dist.

LEXIS 182868, 2015 WL 12778694, at *4 (S.D. Tex. Dec. 24, 2015) (assuming that new

allegations in a response opposing a motion to dismiss may be “appropriately construed as a

motion for leave to amend” (citing Law v. Ocwen Loan Servicing, LLC, 587 F. App’x 790, 796

(5th Cir. 2014)).” See Jaraba v. Blinken, 568 F. Supp. 3d 720, 734-35 (W.D. Tex. 2021).

8.        Because Plaintiff’s new allegations are contained only in his Response, the Court may not

consider the McDonnel Douglas allegations against Defendant Shepherd should be dismissed.

       ii.   The Court should not grant Plaintiff leave to amend the Original Complaint due to
             undue prejudice to Defendant Shepherd.

9.        If this Court chooses to construe the new allegations as a motion for leave to amend, that

constructive motion should be denied because Plaintiff has had ample opportunity to plead his


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McDonnel Douglas burden shifting framework. Instead, Plaintiff has acted in bad faith and risks

undue prejudice against Defendant Shepherd.

10.     Leave to amend should not be granted if there is “any apparent or declared reason”

counseling against it, “such as undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

opposing party by virtue of allowance of the amendment, futility of amendment, etc.” Jaraba, 568

F. Supp. 3d at 734-3. “The Court accordingly considers the contents of Plaintiffs’ Response to

determine whether leave to amend is appropriate under the circumstances.” See id. “Leave to

amend should only be denied on grounds of futility if amendment would be ‘clearly futile.”” Id.

11.     In this case, Plaintiff alleges his McDonnel Douglas in bad faith and should not be allowed

leave to amend due to undue prejudice to the opposing party. According to the first page of

Plaintiff’s Response, Plaintiff nonsuited his Breach of Contract, Quantum Meruit, and Fraud

claims against Defendant Shepherd and alleged a McDonnel Douglas burden shifting framework

to support the § 1981 claim in his Original Complaint. Plaintiff did not amend his Original

Complaint or request leave. Not only are the allegations blatantly false, but Plaintiff has also utterly

failed to show any discriminatory intent by Defendant Shepherd. Any amendment would be clearly

futile, because Plaintiff cannot show racial discrimination on the part of Defendant Shepherd and

he is not an employer for a § 1981 claim.

C. In the alternative, Plaintiff has failed to make prima facie § 1981 McDonnel Douglas
   claim or produce substantial evidence under the McDonnel Douglas framework.

12.     In the alternative, if the Response is found to be an appropriate vehicle for Plaintiff to allege

his McDonnel Douglas burden shifting framework, without amending his Original Complaint,

Plaintiff still fails to either make a plausible prima facie case for racial discrimination or produce

substantial evidence of discriminatory intent.



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      i.    Plaintiff fails to make a prima facie § 1981 McDonnel Douglas claim.

13.     Defendant has already provided legitimate nondiscriminatory reasons for terminating

Plaintiff in his 12(b)(6) Motion to Dismiss: downsizing due to the decision-making of the previous

general manager, who is Defendant’s son, a white male. Plaintiff alluded imprecisely to this in his

complaint by stating simply that the previous general manager left the company, though Plaintiff

knows well that the previous general manager was terminated and his hires have been let go. ¶ 11

of Original Complaint.

14.     Under the McDonnel Douglas framework, Plaintiff has shown no discriminatory intent,

disparate treatment, or evidence that Defendant’s proffered explanation is false or “unworthy of

credence.” See Watkins v. Tregre, 997 F.3d 275, 282 (5th Cir. 2021). According to the McDonnel

Douglas framework, Plaintiff must first make a prima facie case of race discrimination, at which

point the burden shifts to Defendant to proffer a legitimate, nondiscriminatory reason for his

action. Id at 282. If Defendant does that, “the presumption of discrimination disappears,” and

Plaintiff "must then produce substantial evidence indicating that the proffered legitimate[,]

nondiscriminatory reason is a pretext for discrimination.” See id.

15.     Plaintiff has failed to show any intentions on the part of Defendant Shepherd to

discriminate against Plaintiff. Plaintiff’s allegations cannot escape the fact that his termination

resulted from poor management decisions on the part of his immediate superiors and the inevitable

downsizing that ensued.

16.     Lastly, as Plaintiff has now recognized by nonsuiting his breach claims against Defendant

Shepherd, Shepherd has never been Plaintiff’s employer, and Plaintiff had never had a contractual

relationship with Defendant Shepherd individually. Id. Plaintiff does not explain how he is in

contract with Defendant Shepherd. In fact, Plaintiff admits that “Plaintiff had a written

employment contract with New Millennium”. See pg. 7 of Response.


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17.     Plaintiff cites to Fadeyi v. Planned Parenthood Ass’n of Lubbock, Inc. 160 F.3d 1048, 1050

(5th Cir. 1998), to somehow stretch New Millennium’s alleged contractual relationship with

Plaintiff over Defendant Shephard individually. However, in Fadeyi, the plaintiff alleges § 1981

claims against the employer Defendant rather than a managing individual within the entity. See id.

Defendant James Shepherd, individually, is not Plaintiff’s employer and is thus no proper

Defendant against Plaintiff’s § 1981 claim. Plaintiff’s contentions are misplaced.

18.     As Plaintiff can show no race discrimination, and because Defendant Shepherd as an

individual is not an employer for the purpose of Plaintiff’s § 1981 claim, it should be dismissed.

      ii.   Plaintiff cannot produce substantial evidence of pretext for discrimination under the
            McDonnel Douglas framework and his § 1981 claim should be dismissed.

19.     If it is found that Plaintiff made a prima facie racial discrimination claim, his § 1981 claim

should still be dismissed for lack of substantial evidence.

20.     "Evidence is substantial if it is of such quality and weight that reasonable and fair-minded

men in the exercise of impartial judgment might reach different conclusions." Id. Plaintiff "may

establish pretext either through evidence of disparate treatment or by showing that [Defendant’s]

proffered explanation is false or 'unworthy of credence.'” Id. Plaintiff has shown no disparate

treatment, nor has he shown that Defendant’s proffered explanation is false or “unworthy of

credence.” See id; see also, Plaintiff’s Original Complaint and Response.

21.     Plaintiff has produced no evidence indicating that the proffered legitimate,

nondiscriminatory reason for his termination is false or unworthy of credence or evidence of

disparate treatment. See id. Further, Plaintiff refuses to acknowledge the necessary nature of the

downsizing that resulted in his termination due to the previous general manager’s bad choices. See

Sanchez v. Chevron N. Am. Expl. & Prod. Co., No. 20-30783, p. 10-12 (5th Cir. Nov 24, 2021).

Plaintiff has not stated a plausible claim that Defendant made derogatory remarks regarding

Plaintiff’s race. See Reyna v. Epiroc Drilling Sols., Civil Action 3:23-CV-1005-X (N.D. Tex. Nov.

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30, 2023). Plaintiff cannot provide evidence of disparate treatment or any reason that Defendant’s

proffered explanation is false or “unworthy of credence.” See id; see 12(b)(6) Motion to Dismiss;

see Response; see Watkins, 997 F.3d at 282.

22.         Viewing the evidence in the light most favorable to Plaintiff, Plaintiff has failed to produce

substantial evidence of pretext based on disparate treatment or by showing that Defendant

Shepherd’s explanation is false. Plaintiff failed to show that Defendant Shepherd treated Plaintiff

worse than similarly situated individuals. Id. Plaintiff has failed to show that downsizing was not

the real reason for Plaintiff’s termination. Id. Plaintiff’s claims against Defendant James Shepherd

should be dismissed with prejudice.

      II.      IN THE ALTERNATIVE, SUMMARY JUDGMENT IS APPROPRIATE.

A. The Court may adjudicate this matter through summary judgment.

23.         In the alternative, the court may rely on the attached sworn affidavits from Defendant

James Shepherd, Paul Seibert, Susan Spaar, and Sarah Melton and automatically convert

Defendant James Shepherd’s Motion to Dismiss 12(b)(6) into a summary judgment motion on the

merits according to Fed. R. Civ. P. 56. See Smith v. Sheet Metal Workers Int'l Asso., 500 F.2d 741,

744-45 (5th Cir. 1974); See Exhibits A-E. The affidavits show no genuine dispute of fact that

Defendant Shepherd did not discriminate against Plaintiff and that Defendant Shepherd is entitled

to judgment as a matter of law on the merits of Plaintiff’s § 1981 claim. See Exhibits A-E.

24.         Defendant Shepherd, Paul Seibert, and Susan Spaar, members of the management team

that were present at the January 2021 meeting, adamantly deny that Defendant Shepherd made the

statements at issue. See Exhibit A-C. The management team verifies that Plaintiff was made aware

of the eventual downsizing at the meeting. Id.

25.         Defendant Shepherd did not negotiate Paul Seibert’s pay or give him a pay increase. Paul

Seibert seniority and over 40 years of experience in the telecom and PC industry, making him the


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obvious choice if an employee was to be retained and assigned the work of salvaging the

department. See Exhibit B. Further, Paul Seibert’s official title, as recognized by eESI, remained

unchanged. Id. His internal NMCL title has changed multiple times, but his role in the company

has not materially changed. Id. When Plaintiff was let go, his few duties were assigned to Paul

Seibert in addition to Seibert’s normal tasks. Id. Plaintiff never complained about Paul Seibert, his

title, or any issues of payment during the reign of the previous general manager. Id. Furthermore,

Seibert is a descendant of Ashkenazi Jews from Germany, further casting doubt on Plaintiff’s

assertions that Defendant is motivated by white supremacy or antisemitic sentiments. Id.

B. Alternative reasons for Plaintiff’s termination militate against his claims.

26.     Defendant Shepherd fired the previous general manager, David Shepherd, his own son, a

white male. See Exhibit A. Insisting that Plaintiff’s termination must be racially-motivated when

Defendant was forced to terminate even his own son is patently absurd.

27.     There have been many minorities employed by NMCL over the years, there is no pattern

or practice of discrimination. For instance, just in this past May, a Hispanic woman was hired.

Exhibit A. 100% of Defendant Shepherd’s employees in Puerto Rico are Hispanic as well. Id.

28.     Exhibit D and E show Plaintiff’s scheme of approaching Sarah Melton to bait her into

providing statements for this lawsuit. In Exhibit D, he came to discuss a firing that Plaintiff “knew

for some time”. The conversation shows Plaintiff’s active awareness of “how easy it is” to try to

sue under claims of racial discrimination and that Plaintiff brought up ethnicity and made the

“pattern” comment first and now projects his statement onto Sarah. The characterization by

Plaintiff that “Sarah Melton, New Millennium’s HR Liaison, told Plaintiff she was concerned that

New Millennium was “establishing a pattern of only terminating minorities" does not hold up. See

Exhibit A-D. Sarah Melton was Leo’s administrative assistant and not an “HR Liaison”. See

Exhibit A & E. Further, Plaintiff’s bad faith is apparent because Defendant James Shepherd never

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made any of the vile comments alleged by Plaintiff at the January 2021 two-day meeting. See

Exhibit A-D. (Jim Shepherd’s declaration at Exhibit A, para. 6 supports the admissions of Fuente

contained in Exhibit D.)

29.     Plaintiff has failed to make a prima facie case of racial discrimination and failed to provide

any evidence that Defendant’s stated reasons for firing Plaintiff should be considered untrue. See

Exhibit A. Plaintiff cannot provide any evidence other than his own testimony, made in bad faith,

that Defendant ever made the vile statements alleged. Plaintiff was, by his own admission, told at

the January 2021 two-day meeting to expect the downsizing that resulted in his termination. See

Exhibit A-C. Further, Paul Seibert, a member of another racial minority, took over the few tasks

that Plaintiff had routinely failed to perform and received neither a promotion nor a pay increase.

See Exhibit B. Plaintiff quotes Sarah Melton without context to allege a pattern of discrimination;

however, such a pattern clearly does not exist, as Defendant’s own son, a white male, was the first

to be let go in the downsizing process. See Exhibit A-E. Plaintiff acted in bad faith. Id. Defendant

did not discriminate against Plaintiff.

30.     There is no genuine dispute of fact that alternative reasons for Plaintiff’s termination,

preventing Plaintiff’s success here. See Exhibit A-E. Because Defendant Shepherd did not

discriminate against Plaintiff, Defendant is entitled to summary judgment on Plaintiff’s § 1981

claim. See id. See also Fed. R. Civ. P. 56; Smith, 500 F.2d at 744-45.

                                       III.    CONCLUSION

31.     Because Plaintiff only made new allegations under the McDonnel Douglas framework in

his Response, they should not be considered. If the new allegations are considered as a request for

leave to amend, it should be denied due to Plaintiff’s bad faith and unfair prejudice to Defendant

Shepherd.




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32.     Plaintiff failed to make a prima facie case of race discrimination under § 1981, because

Plaintiff’s department was closed and Defendant did not discriminate against Plaintiff. In the

alternative, Plaintiff failed to produce substantial evidence indicating that the proffered legitimate

nondiscriminatory reason was a pretext for discrimination. Plaintiff’s § 1981 claim must be

dismissed according to Fed. Rul. Civ. Pro. 12(b)(6).

33.     In the alternative, this Court may consider the attached sworn affidavits and evidence and

see there is no genuine dispute of fact that Defendant Shepherd did not discriminate against

Plaintiff. See Exhibit A-E. Because Defendant Shepherd did not discriminate against Plaintiff,

Defendant is entitled to summary judgment on Plaintiff’s § 1981 claim. See Exhibits A-E; See also

Fed. Rul. Civ. Pro. 56; Smith, 500 F.2d at 744-45.

                                    IV.     ATTORNEY’S FEES

34.     According to Federal Rules of Civil Procedure 54 and 42 U.S.C. § 1988, Defendant asks

for this Court to award attorney’s fees on Plaintiff’s nonsuited claims against Defendant Shepherd,

specifically the Breach of Contract, Quantum Meruit, and Fraud claims. Further, Defendant asks

for attorney’s fees on the § 1981 claim once dismissed.

                                            V.     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant prays this Court enter a judgment

that Plaintiff takes nothing by his claims and award to Defendant for such other and further relief,

both general and special, at law or in equity, to which the Defendant may be justly entitled.

                Respectfully submitted,

                /s/Warren V. Norred
                Warren V. Norred, warren@norredlaw.com, Texas Bar Number: 24045094
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                Counsel for Defendant Jim Shepherd




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Exhibits:
Exhibit A – Declaration of James “Jim” Shepherd
Exhibit B – Declaration of Paul Seibert
Exhibit C – Declaration of Susan Spaar
Exhibit D – Slack Screenshot – Sarah Melton
Exhibit E – Declaration of Sarah Melton



CERTIFICATE OF SERVICE - I certify that on Wednesday, December 20, 2023, I filed this
reply with the Clerk of the Court through the ECF system, which will send notification of such
filing to the following to all attorneys receiving service by email, including:

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